         Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 1 of 13




                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        LAREDO DIVISION

HOMELAND INSURANCE COMPANY OF §
NEW YORK,                       §
                                §
      Plaintiff,                §
                                §
v.                              §
                                §                                     CIVIL ACTION NO.
ERNEST HEALTH, INC., LAREDO     §
SPECIALTY HOSPITAL, LP, LAREDO  §                                     ___________________
SPECIALTY HOSPITAL MANAGEMENT, §
LLC, MARIO RODRIGUEZ, AND JESUS §
RUIZ,                           §
                                §
      Defendants.               §

                           COMPLAINT FOR DECLARATORY JUDGMENT

           Plaintiff, Homeland Insurance Company of New York (“Homeland”), files this lawsuit

pursuant to Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202 for

a declaratory judgment against Ernest Health, Inc., Laredo Specialty Hospital, LP, Laredo

Specialty Hospital Management, LLC, Mario Rodriguez, and Jesus Ruiz, and would respectfully

show the Court as follows:

                                                     I.
                                              NATURE OF ACTION

           1.       This lawsuit involves rights and obligations of the parties under a Health Care

Organizations and Providers Professional Liability, General Liability, and Employee Benefit

Liability Policy issued by Homeland, Policy No. MPP-6895-16 (the “Policy”), 1 to certain

insureds, including Defendants Ernest Health, Inc., Laredo Specialty Hospital, LP, and Laredo

Specialty Hospital Management, LLC, and, on information and belief, Defendants Mario


1
    A true and correct copy of the Policy is attached as Exhibit 1.

COMPLAINT FOR DECLARATORY JUDGMENT                                                          PAGE 1
     Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 2 of 13




Rodriguez and Jesus Ruiz (collectively referred to herein as the “Insureds”). The Insureds

contend that they are entitled to a defense and indemnity under the Policy as a result of certain

litigation filed against them.     Specifically, the Insureds have requested a defense and

indemnification relating to a lawsuit styled Eduardo Miranda, M.D., et al. v. Laredo Specialty

Hospital, L.P., et al., Cause No. 2016-CVQ-001536-D1, pending in the 49th Judicial District

Court, Webb County, Texas (the “Underlying Lawsuit”). Homeland has issued a Reservation of

Rights in connection with the Insureds’ demand for coverage, initially agreeing to pay a portion

of their reasonable Defense Expenses under a full reservation of rights, subject to further

investigation. Homeland now requests that this Court declare that Homeland has no duty to

defend the Insureds or to pay or reimburse their reasonable Defense Expenses under the Policy,

in connection with the Underlying Lawsuit.

                                             II.
                                           PARTIES

       2.      Homeland is a corporation incorporated in the State of New York, with its

principal place of business in the State of Minnesota. It is thus a citizen of New York and

Minnesota.

       3.      Defendant Ernest Health, Inc., is a corporation incorporated in the State of

Delaware, with its principal place of business in the State of New Mexico. It is thus a citizen of

Delaware and New Mexico, and it is not a citizen of either New York or Minnesota.

       4.      Defendant Laredo Specialty Hospital, LP, is a Delaware Limited Partnership. Its

sole general partner is Laredo Specialty Hospital Management, LLC, a Delaware limited liability

company with a sole member that is a corporation incorporated in the State of Delaware, with its

principal place of business in the State of New Mexico. It is thus a citizen of Delaware and New

Mexico, and it is not a citizen of either New York or Minnesota.


COMPLAINT FOR DECLARATORY JUDGMENT                                                         PAGE 2
      Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 3 of 13




        5.      Defendant Laredo Specialty Hospital Management, LLC, is a Delaware Limited

Liability Company. Its sole member is Ernest Health, Inc., a corporation incorporated in the

State of Delaware, with its principal place of business in the State of New Mexico. It is thus a

citizen of Delaware and New Mexico, and it is not a citizen of either New York or Minnesota.

        6.      Defendant Mario Rodriguez is an individual residing in Texas. He is a citizen of

the State of Texas, and is not a citizen of either New York or Minnesota.

        7.      Defendant Jesus Ruiz is an individual residing in Texas. He is a citizen of the

State of Texas, and is not a citizen of either New York or Minnesota.

                                                III.
                                      JURISDICTION AND VENUE

        8.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332. There is

complete diversity between the Plaintiff and the Defendants, and the amount in controversy

exceeds $75,000, exclusive of interest and costs, as noted in paragraph 10 below. An actual and

justiciable controversy exists between the Plaintiff and the Defendants.

        9.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b). The

Defendants are residents of this judicial district.      Defendants are all subject to personal

jurisdiction in this judicial district. A substantial part of the events giving rise to this dispute

occurred in this judicial district.

                                              IV.
                                        BACKGROUND FACTS

A.      The Underlying Lawsuit

        10.     On or about May 31, 2016, Eduardo Miranda, M.D. and Oncology & Hematology

of South Texas, P.A. (referred to herein as the “Miranda Plaintiffs”) filed the Underlying

Lawsuit against Ernest Health, Inc., Laredo Specialty Hospital, LP, and Laredo Specialty

Hospital Management, LLC, all Named Insureds under the Policy. In the Underlying Lawsuit,

COMPLAINT FOR DECLARATORY JUDGMENT                                                           PAGE 3
     Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 4 of 13




the Miranda Plaintiffs alleged that those three named defendants, all Insureds, in concerted

action with one another and other identified entities, defamed and disparaged the Miranda

Plaintiffs and interfered with their relationships with patients, based upon certain false and

defamatory statements known to be false by the Insureds, all with the specific intent to weaken

or eliminate competition from the Miranda Plaintiffs. The Miranda Plaintiffs allege that they

“seek monetary relief of over $1,000,000.” First Amended Petition, at ¶15.

       11.     On July 29, 2016, the Miranda Plaintiffs amended their suit by filing their First

Amended Petition, which continued to identify the original defendants as parties, and which

added Mario Rodriguez and Jesus Ruiz, who, upon information and belief, are also Insureds

under the Policy, as defendants, and named several additional parties as defendants, who are not

Insureds. In the First Amended Petition, the Miranda Plaintiffs continued to assert the same

causes of action against the Insureds, and they added additional details and factual allegations

regarding the concerted actions of all the named defendants. The Miranda Plaintiffs continued to

allege that all actions by the defendants were committed intentionally and with malice.

       12.     As a part of the First Amended Petition in the Underlying Lawsuit, the Miranda

Plaintiffs allege that the defendants spread false information about Dr. Miranda, used the false

information to terminate his hospital privileges, reported false information to databases that

collect information on medical privileges, and continued to spread false and defamatory

information about the Miranda Plaintiffs. Moreover, the Miranda Plaintiffs allege that the false

statements were made by the defendants “knowing that they were false and were made with

malice.” First Amended Petition, at ¶50.

       13.     As a part of the First Amended Petition, the Miranda Plaintiffs allege that the

Insureds, along with other parties named as defendants, “conspired with one another to undertake



COMPLAINT FOR DECLARATORY JUDGMENT                                                        PAGE 4
     Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 5 of 13




the wrongful actions” and that each defendant “had knowledge of, agreed to and intended the

common objective of stifling and interfering with Plaintiffs’ business and defaming and

disparaging Plaintiffs.” First Amended Petition, at ¶54.

       14.     Based upon the assertion that the defendants made false statements, knowing that

they were false and with actual malice, Plaintiffs asserted five separate causes of action against

the Insureds and the other defendants in the Underlying Lawsuit: violation of the Texas Free

Enterprise and Antitrust Act of 1983, tortious interference with prospective business relations,

defamation, business disparagement, and civil conspiracy.

       15.     Plaintiffs’ causes of action currently remain pending, and the Underlying Lawsuit

is set for trial in February 2018 in Webb County, Texas.

B.     Insureds’ Claim Under the Policy

       16.     Homeland issued the Policy to Named Insureds Ernest Health Holdings, Inc.,

Laredo Specialty Hospital, LP, and Laredo Specialty Hospital Management, LLC.                  On

information and belief, the individual defendants Mario Rodriguez and Jesus Ruiz are also

Insureds. The Policy has limits of insurance for General Liability of $1 million for each Claim,

subject to a General Aggregate Limit of $3 million for all Claims. The Policy was in place for

the period of January 30, 2016, to January 30, 2017, and it replaced an earlier Policy with the

same coverage which was in place for the period of January 30, 2015, to January 30, 2016.

       17.     The Insureds are seeking coverage under the Policy in connection with the

Underlying Lawsuit.

       18.     By letter dated September 9, 2016, Homeland issued a full Reservation of Rights

in connection with the Underlying Lawsuit, and it detailed in the Reservation of Rights a number

of exclusions and provisions which would potentially wholly bar coverage for the matters

asserted against the Insureds in the Underlying Lawsuit.

COMPLAINT FOR DECLARATORY JUDGMENT                                                          PAGE 5
       Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 6 of 13




                                             V.
                                   CONTROVERSY AND RIPENESS

         19.      As set forth above, Homeland initially agreed to pay a portion of the Insureds’

reasonable Defense Expenses, subject to a full reservation of rights under the Policy. Homeland

has set forth numerous exclusions and Policy provisions which potentially preclude coverage for

the Underlying Lawsuit, and which establish that there would be no duty to defend the Insureds

and no duty to pay or reimburse their reasonable Defense Expenses. The Insureds believe that

coverage is afforded, and continue to assert that they expect a defense and indemnity from

Homeland. Homeland has now determined that coverage is excluded for the causes of action

asserted against the Insureds.

         20.      As a result, an actual case or controversy exists between Homeland and the

Insureds, and the case or controversy is ripe for judicial resolution by this Court. Therefore,

Homeland now seeks a declaratory judgment from this Court declaring that it has no duty to

defend the Insureds and no duty to pay or reimburse their reasonable Defense Expenses in

connection with the Underlying Lawsuit, consistent with the positions set forth in

correspondence with the Insureds and as otherwise provided under the terms of the Policy. 2

                                            VI.
                                       COUNT ONE
    (Declaratory Judgment That Homeland Has No Duty to Pay or Reimburse Reasonable
                Defense Expenses or to Defend the Insureds Under the Policy)

         21.      Homeland incorporates herein by reference each of the allegations contained in

paragraphs 1 through 20 of this Complaint as though specifically alleged herein.




2
  This Complaint refers to Policy No. MPP-6895-16 as the “Policy” because the underlying events described in the
Underlying Lawsuit appear to have occurred during the Policy Period of that Policy. That Policy and the earlier
policy referenced in this Complaint are substantively identical for purposes of this Complaint and thus, to the extent
that any Insured seeks coverage under that earlier policy, Homeland seeks a declaration that coverage cannot apply
under the earlier policy for the same reasons set forth in this Complaint.

COMPLAINT FOR DECLARATORY JUDGMENT                                                                            PAGE 6
      Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 7 of 13




       22.     The Insureds have sought coverage under the General Liability Coverage Form of

the Policy, Coverage B. The Insuring Agreement of Coverage B provides as follows:

               The Underwriter will pay up to the applicable Limit of Liability
               shown in ITEM 4.B of the Declarations on behalf of the Insured
               any Loss which the insured is legally obligated to pay as a result of
               a covered Claim alleging Bodily Injury, Property Damage,
               Advertising Injury or Personal Injury that is caused by an
               Occurrence that takes place during the Policy Period; provided,
               that the Claim is reported to the Underwriter in accordance with
               GENERAL CONDITION (C) of this Policy.

       23.     The Policy defines the term Claim as “any written notice received by an Insured

that any person or entity intends to hold an Insured responsible for a Wrongful Act or

Occurrence.” Occurrence, in the context of Personal Injury, is defined as “a covered offense as

set forth in . . . DEFINITIONS (HH) [Personal Injury] of this Policy.” “Personal Injury”

includes injury arising out of the “oral or written publication of material that slanders or libels a

person or an organization or disparages a person’s or an organization’s goods, products or

services.” The Insuring Agreement of Coverage B and its applicable definitions specifically

limit the scope of coverage to a “covered claim” or “covered offense.”

       24.     The Policy provides as follows regarding reasonable Defense Expenses in

Insuring Agreement F:

               The Underwriter has the right and duty to defend any Claim that is
               covered by INSURING AGREEMENTS (A), (B), and (C) of this
               Policy, even if any of the allegations of such Claim are groundless,
               false or fraudulent. In addition to the Limits of Liability for
               INSURANCE AGREEMENTS (A), (B), and (C), the Underwriter
               will pay Defense Expenses . . .

       25.     Defense Expenses under the Policy include “the reasonable fees of attorneys,

experts and consultants and costs and expenses incurred in the investigation, adjustment, defense

or appeal of a Claim with the approval or at the direction of the Underwriter.”



COMPLAINT FOR DECLARATORY JUDGMENT                                                            PAGE 7
      Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 8 of 13




       26.      The Policy makes clear in Insuring Agreement F that Homeland has only the

“duty to defend any Claim that is covered by INSURING AGREEMENTS (A), (B), and (C) of

this Policy.”

       27.      Homeland seeks a declaratory judgment that Homeland has no duty to defend the

Insureds in the Underlying Lawsuit or to pay or reimburse their reasonable Defense Expenses

incurred in defending the Underlying Lawsuit, based upon the terms and conditions of the

Policy, including the Exclusions set out herein, and the allegations in the Underlying Lawsuit.

       28.      Under the eight corners rule in Texas, only the factual allegations in the operative

pleading and the provisions of the policy at issues are relevant to determining whether an insurer

has a duty to defend. GuideOne Elite Ins. Co. v. Fielder Rd. Baptist Church, 197 S.W.3d 305,

308 (Tex. 2006). If the petition at issue does not allege facts within the scope of policy

coverage, taking into account all the policy’s terms, conditions and limitations, including

exclusions, the insurer has no legal obligation to defend the insured against such claims. Nat’l

Union Fire Ins. Co. v. Merchants Fast Motor Lines, Inc., 939 S.W.2d 139, 141 (Tex. 1997).

       29.      Based on the allegations of the Underlying Lawsuit against the Insureds, coverage

under the Policy, including for reasonable Defense Expenses, is precluded.

                                          VII.
                                     COUNT TWO
  (Declaratory Judgment That Homeland Has No Duty to Pay or Reimburse Reasonable
             Defense Expenses or to Defend the Insureds Due to Exclusion 3.)

       30.      Homeland incorporates herein by reference each of the allegations contained in

paragraphs 1 through 29 of this Complaint as though specifically alleged herein.

       31.      General Exclusion 3, applicable to all coverages of the Policy, provides as

follows:

                Except as otherwise expressly provided in this policy, this policy
                does not apply to, and the underwriter will not pay loss or defense

COMPLAINT FOR DECLARATORY JUDGMENT                                                           PAGE 8
     Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 9 of 13




              expenses, for any claim based upon, arising out of, directly or
              indirectly resulting from, in consequence of, or in any way
              involving any actual or alleged:

              (3) violation of any federal, state or local antitrust, restraint of
              trade, unfair competition, or price-fixing law, or any rules or
              regulations promulgated thereunder, or any involvement in any
              agreement or conspiracy to restrain trade, except for any claim
              otherwise covered under insuring agreement (a) arising out of the
              rendering of, or failure to render, medical services;

       32.    Because Cause of Action A in the Underlying Lawsuit is based on allegations that

the Insureds violated the Texas Free Enterprise and Antitrust Act of 1983, a state antitrust

statute, and committed, and conspired to commit, acts in restraint of trade and of unfair

competition, coverage for Cause of Action A is precluded by General Exclusion 3. to the Policy.

In addition, Cause of Action A in the Underlying Lawsuit does not allege any Bodily Injury,

Property Damage, Advertising Injury or Personal Injury caused by an Occurrence that takes

place during the Policy Period. Thus, even if General Exclusion 3. to the Policy does not apply,

there is no coverage afforded to the Insureds for Cause of Action A in the Underlying Lawsuit.

                                         VIII.
                                    COUNT THREE
  (Declaratory Judgment That Homeland Has No Duty to Pay or Reimburse Reasonable
             Defense Expenses or to Defend the Insureds Due to Exclusion 4.)

       33.    Homeland incorporates herein by reference each of the allegations contained in

paragraphs 1 through 32 of this Complaint as though specifically alleged herein.

       34.    General Exclusion 4., applicable to all Coverages, provides as follows:

              Except as otherwise expressly provided in this policy, this policy
              does not apply to, and the underwriter will not pay loss or defense
              expenses, for any claim based upon, arising out of, directly or
              indirectly resulting from, in consequence of, or in any way
              involving any actual or alleged:

              (4) dishonest, fraudulent, criminal or intentionally malicious act,
              error or omission by an insured; any willful violation of law,
              statute, rule or regulation by an insured; or the gaining of any

COMPLAINT FOR DECLARATORY JUDGMENT                                                        PAGE 9
     Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 10 of 13




              profit, remuneration or advantage by an insured to which such
              insured was not legally entitled, including, but not limited to,
              health care fraud; provided, however, that no such act of one
              insured will be imputed to any other insured who was not aware of
              and did not participate in such act;

       35.    Because Causes of Action A-E in the Underlying Lawsuit are based on allegations

that the Insureds committed dishonest, fraudulent and intentionally malicious acts, coverage for

Causes of Action A-E is precluded by General Exclusion 4. of the Policy.

                                          IX.
                                    COUNT FOUR
  (Declaratory Judgment That Homeland Has No Duty to Pay or Reimburse Reasonable
            Defense Expenses or to Defend the Insureds Due to Exclusion B.4.)

       36.    Homeland incorporates herein by reference each of the allegations contained in

paragraphs 1 through 35 of this Complaint as though specifically alleged herein.

       37.    Exclusion 4., applicable to Coverage B of the Policy, provides as follows:

              In addition to the exclusions listed under (d) below, no coverage
              will be available under insuring agreement (b), and the underwriter
              will not pay any loss or defense expenses, for any claim based
              upon, arising out of, directly or indirectly resulting from, in
              consequence of, or in any way involving any actual or alleged:

              (4) bodily injury, property damage, personal injury or advertising
              injury expected or intended from the standpoint of any insured;

       38.    Because Causes of Action A-E in the Underlying Lawsuit are based on allegations

that the Insureds committed dishonest, fraudulent and intentionally malicious acts, designed and

intended to inflict personal injury on the Miranda Plaintiffs, coverage for Causes of Action A-E

is precluded by Exclusion 4. of Coverage B of the Policy.




COMPLAINT FOR DECLARATORY JUDGMENT                                                         PAGE 10
     Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 11 of 13




                                           X.
                                     COUNT FIVE
  (Declaratory Judgment That Homeland Has No Duty to Pay or Reimburse Reasonable
            Defense Expenses or to Defend the Insureds Due to Exclusion B.5.)

       39.    Homeland incorporates herein by reference each of the allegations contained in

paragraphs 1 through 38 of this Complaint as though specifically alleged herein.

       40.    Exclusion 5., applicable to Coverage B, provides as follows:

              In addition to the exclusions listed under (d) below, no coverage
              will be available under insuring agreement (b), and the underwriter
              will not pay any loss or defense expenses, for any claim based
              upon, arising out of, directly or indirectly resulting from, in
              consequence of, or in any way involving any actual or alleged:

              (5) personal injury or advertising injury arising out of oral or
              written publication of material:

              (a) if done by or at the direction of an insured with knowledge of
              its falsity;

       41.    Because Causes of Action B-E in the Underlying Lawsuit are based on allegations

that the Insureds published the allegedly defamatory statements about the Miranda Plaintiffs with

knowledge of the falsity of such statements, coverage for Causes of Action B-E is precluded by

Exclusion 5. of Coverage B of the Policy.

                                            XI.
                                        COUNT SIX
                                  (Other Coverage Defenses)

       42.    Other terms and conditions of the Policy may also preclude coverage. By seeking

a declaration of coverage with respect to the issues identified in this Complaint, Homeland in no

way waives, and expressly and fully reserves, the right to rely on any other provisions of the

Policy. Nothing in this Complaint should be construed as a waiver by Homeland of any other

coverage defenses under the Policy or at law.




COMPLAINT FOR DECLARATORY JUDGMENT                                                       PAGE 11
     Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 12 of 13




                                              XII.
                                        COUNT SEVEN
                                        (Attorney’s Fees)

       43.     Homeland incorporates herein by reference each of the allegations of paragraphs

1 through 42 of this Complaint as though specifically alleged herein.

       44.     Homeland is entitled to recover its reasonable attorneys’ fees in filing and

prosecuting this action. In particular, 28 U.S.C. § 2202 provides that the district court may grant

such further and other relief as is necessary or appropriate. An award of attorneys’ fees is

appropriate if state law allows for such recovery. Under Texas law, a party is entitled to an

award of attorneys’ fees if it is successful in an action based on contract. TEX. CIV. PRAC. &

REM. CODE ANN. § 38.001. See, e.g., INA of Texas v. Richard, 800 F.2d 1379, 1380-81 (5th Cir.

1986) (award of attorneys’ fees in declaratory judgment action based on marine insurance policy

governed by Texas state law). This Court may also award attorneys’ fees based upon its inherent

power. It has become necessary for Homeland to retain the law firm of Strasburger & Price,

LLP, and the undersigned attorneys, to represent it in this lawsuit.          Homeland seeks a

determination that it has complied with the terms of the Policy. Therefore, Homeland is entitled

to an award of its reasonable attorneys’ fees.

                                           XIII.
                                      RIGHT TO AMEND

       45.     Homeland reserves the right to amend its Complaint to allege that it has no duty

to indemnify the Insureds for any Loss in connection with the Underlying Lawsuit, once that

issue becomes ripe for adjudication by this Court.

                                          XIV.
                                    PRAYER FOR RELIEF

       Wherefore, for the foregoing reasons, Homeland Insurance Company of New York

respectfully requests that the Court enter a declaratory judgment in its favor as set forth above,

COMPLAINT FOR DECLARATORY JUDGMENT                                                         PAGE 12
      Case 5:17-cv-00025 Document 1 Filed on 02/07/17 in TXSD Page 13 of 13




declaring that the Policy does not require Homeland to either defend the Insureds or pay or

reimburse reasonable Defense Expenses on behalf of the Insureds in connection with the

Underlying Lawsuit.              Homeland further seeks its reasonable attorneys’ fees incurred in

prosecuting this matter, together with such other and further relief, both at law and equity, to

which this Court may find it to be justly entitled.


         DATED: February 7, 2017.

                                                   Respectfully submitted,

                                                   /s/ Michael Keeley
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COMPLAINT FOR DECLARATORY JUDGMENT                                                            PAGE 13

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